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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION
                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    KATERRA INC., et al.,1                                           )   Case No. 21-31861 (DRJ)
                                                                     )
                               Debtors.                              )   (Joint Administration Requested)
                                                                     )   (Emergency Hearing Requested)

                           DEBTORS’ EMERGENCY
                     MOTION FOR ENTRY OF INTERIM AND
               FINAL ORDERS (A) AUTHORIZING THE DEBTORS TO
             OBTAIN POSTPETITION FINANCING, (B) GRANTING LIENS
         AND PROVIDING CLAIMS WITH SUPERPRIORITY ADMINISTRATIVE
            EXPENSE STATUS, (C) MODIFYING THE AUTOMATIC STAY,
     (D) SCHEDULING A FINAL HEARING, AND (E) GRANTING RELATED RELIEF

             Emergency relief has been requested. A hearing will be conducted on this matter on
             June 7, 2021 at 3:30 pm (prevailing Central time) in Courtroom 400, 4th floor, 515 Rusk,
             Houston, Texas 77002. You may participate in the hearing either in person or by audio/video
             connection.

             Audio communication will be by use of the Court’s dial-in facility. You may access the facility
             at (832) 917-1510. You will be responsible for your own long distance charges. Once connected,
             you will be asked to enter the conference room number. Judge Jones’s conference room
             number is 205691.

             You may view video via GoToMeeting. To use GoToMeeting, the Court recommends that you
             download the free GoToMeeting application. To connect, you should enter the meeting code
             “JudgeJones” in the GoToMeeting app or click the link on Judge Jones’s home page on the
             Southern District of Texas website. Once connected, click the settings icon in the upper right
             corner and enter your name under the personal information setting.

             Hearing appearances must be made electronically in advance of the hearing. To make your
             electronic appearance, go to the Southern District of Texas website and select “Bankruptcy
             Court” from the top menu. Select “Judges’ Procedures,” then “View Home Page” for Judge
             Jones. Under “Electronic Appearance” select “Click here to submit Electronic Appearance”.
             Select the case name, complete the required fields and click “Submit” to complete your
             appearance.

             If you object to the relief requested or you believe that emergency consideration is not
             warranted, you must either appear at the hearing or file a written response prior to the



1     1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
      Debtors’ proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor
      Katerra Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East
      Via de Ventura, Scottsdale, Arizona 85258.
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        hearing. Otherwise, the Court may treat the pleading as unopposed and grant the relief
        requested.

        Relief is requested not later than June 7, 2021.

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

the following in support of this motion (this “Motion”):2

                                               Preliminary Statement

        1.       The Debtors filed these chapter 11 cases in the wake of a severe liquidity crisis with

the goal of pursuing a value-maximizing marketing and sale process and orderly wind down of

their business. Close to negative liquidity, the Debtors will suffer immediate and irreparable harm

absent immediate access to capital. The postpetition financing sought herein is essential to the

Debtors’ continued operations during these chapter 11 cases.

        2.       As discussed more fully in the Declaration of Marc Liebman in Support of

Chapter 11 Petitions and First Day Motions (the “First Day Declaration”) and the Declaration of

Matthew R. Niemann in Support of (A) DIP Financing and (B) All First Day Relief (the “Niemann

Declaration”) attached hereto as Exhibit A, by the end of May 2021, the Debtors found

themselves with a negative cash position and in need of an immediate capital infusion.

        3.       Houlihan Lokey Capital, Inc. (“Houlihan Lokey”), the Debtors’ investment banker,

embarked on a process to raise liquidity on an exigent basis, approaching several parties, including

SB Investment Advisers (UK) Limited—an affiliate of SoftBank Vision Fund I (“SVF”) and other

parties familiar with the Debtors’ businesses. See Niemann Decl. ¶ 29. Houlihan Lokey solicited

both in-court and out-of-court financing proposals from SVF, third party lenders, and parties who



2   Capitalized terms used but not immediately defined in their respective sections have the meanings given to them
    in the First Day Declaration, Niemann Declaration, the DIP Documents, or the Interim DIP Order (each as defined
    herein), as applicable.



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had expressed an interest in acquiring certain assets of the Debtors. See id. Ultimately, the only

party both willing and able to provide the liquidity the Debtors required on an expedited basis was

SB Investment Advisors (UK) Limited, an affiliate of SVF.

        4.       To help aid the Debtors’ orderly and smooth transition into chapter 11 and help

maximize recoveries for all creditors, SVF committed to provide $35 million of postpetition

financing in the form of a senior secured superpriority debtor in possession promissory note

(the “DIP Promissory Note” and the holder of such promissory note, the “DIP Lender”).

        5.       The DIP Promissory Note provides the Debtors with immediate access to liquidity

on favorable economic terms under the circumstances, including no up-front fees, no exit fees, no

ticking fees, no premiums, no repayment or prepayment fees, no cash interest is required and, if

the loan is repaid within the first sixty (60) days, all accrued interest is waived, and payment of all

DIP Lenders’ advisors fees and expenses are deferred until the maturity of the DIP Promissory

Note. These concessions from SVF are designed to provide the Debtors as much near-term

liquidity as possible under the circumstances to avoid a chapter 7 filing and bridge the Debtors to

an orderly and expeditious sale process and wind-down intended to maximize value available for

creditors.

                                               Relief Requested

        6.        The Debtors seek entry of an interim order, substantially in the form attached

hereto (the “Interim DIP Order”) and a final order (the “Final DIP Order,” and, together with

the Interim DIP Order, the “DIP Orders”):3



3   The summaries contained in this Motion are qualified in their entirety by the provisions of the documents
    referenced. To the extent anything in this Motion is inconsistent with such documents, the terms of the applicable
    documents shall control. Capitalized terms used in this summary chart but not otherwise defined have the
    meanings ascribed to them in the DIP Documents or the Interim DIP Order, as applicable.



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            DIP Promissory Note: authorizing the Debtors to obtain credit under the DIP
             Promissory Note in the aggregate principal amount of $35 million, pursuant to the
             terms and conditions set forth in the DIP Promissory Note;

            DIP Documents: authorizing the Debtors to enter into the DIP Promissory Note,
             substantially in the form annexed as Schedule 1 to the Interim DIP Order attached
             hereto, the Security Agreement (as defined in the DIP Promissory Note) and certain
             ancillary documentation (together with the DIP Promissory Note,
             the “DIP Documents”) and all of the Debtors’ secured obligations arising thereunder
             (the “DIP Obligations”);

            Security and Priority: authorizing the Debtors to grant, subject and subordinate solely
             to any Prior Perfected Liens (as defined in the Interim DIP Order) and the Carve Out,
             senior liens and superpriority administrative expense status to the DIP Lender to secure
             the DIP Obligations, including continuing, valid, binding, enforceable, non-avoidable,
             and automatically and properly perfected postpetition security interests in and liens on
             the DIP Collateral (as defined in the Interim DIP Order);

            Automatic Stay: modifying the automatic stay imposed by section 362 of the
             Bankruptcy Code to the extent necessary to implement and effectuate the terms and
             conditions of the DIP Orders; and

            Final Hearing: scheduling a final hearing to consider entry of the Final DIP Order.

                             Concise Statement Pursuant to
                 Bankruptcy Rule 4001 and the United States Bankruptcy
    Court for the Southern District of Texas Procedures for Complex Chapter 11 Cases

        7.       The following chart contains a summary of the material terms of the proposed DIP

Promissory Note (the “Summary of Material Terms”), together with references to the applicable

sections of the relevant source documents, as required by Bankruptcy Rules 4001(b)(1)(B) and

4001(c)(1)(B) and the Procedures for Complex Chapter 11 Cases in the Southern District of Texas

(the “Complex Case Procedures”).4




4   The summaries contained in this Motion are qualified in their entirety by the provisions of the documents
    referenced. To the extent anything in this Motion is inconsistent with such documents, the terms of the applicable
    documents shall control. Capitalized terms used in this summary chart but not otherwise defined have the
    meanings ascribed to them in the DIP Documents or the Interim DIP Order, as applicable.



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  Bankruptcy Rule           Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)

Parties to the            Borrower: Katerra Inc., a Delaware corporation (the “Company”).
DIP Promissory Note
                          DIP Guarantors: Katerra Inc., a Cayman company (the “Parent”) and each Subsidiary
Bankruptcy Rule
                          of the Parent from time to time party to the Security Agreement (as defined in the DIP
4001(c)(1)(B)
                          Promissory Note) (each, a “DIP Guarantor,” and, together with the Company, the “DIP
                          Note Parties”).
                          DIP Lender: SB Investment Advisers (UK) Limited, a UK private limited company (in
                          its capacity under the DIP Promissory Note, including its registered assigns, the
                          “Holder”).
                          See DIP Promissory Note, Preamble, ¶ 1, “Guarantors”

Term                      The maturity date with respect to the DIP Promissory Note (the “Maturity Date”) shall
Bankruptcy Rule           be the earlier of:
4001(b)(l)(B)(iii),
                                   (a) the consummation of a sale of all or substantially all of the assets of the DIP
4001(c)(1)(B)
                                       Note Parties;
                                   (b) acceleration of the Balance of the DIP Promissory Note pursuant to the DIP
                                       Promissory Note;
                                   (c) 35 days after entry of the Interim DIP Order (or such later date as the Holder
                                       in its sole discretion may agree in writing with the Company) if the Final
                                       DIP Order has not been entered on or prior to the expiration of such 35-day
                                       period;
                                   (d) the substantial consummation (as defined in Section 1101 of the Bankruptcy
                                       Code and which for purposes hereof shall be no later than the “effective
                                       date” thereof) of a Chapter 11 Plan (as defined in the DIP Promissory Note)
                                       that is confirmed pursuant to a Final DIP Order entered by the Court; and
                                   (e) the Scheduled Maturity Date (to be seventy-five (75) days post-closing).
                          See DIP Promissory Note, ¶ 1, “Maturity Date” and “Scheduled Maturity Date”

Commitment                The DIP Promissory Note commitments total $35 million (and, all amounts extended
Bankruptcy Rule           under the DIP Promissory Note, the “DIP Loans”), up to $25 million of which are
4001(c)(1)(B)             available on an interim basis (the “Initial Funding Amount”).
                          See DIP Promissory Note, Preamble, ¶ 2.1(a); Interim DIP Order ¶ (i)–(iii).

Conditions of             The DIP Orders and DIP Documents include conditions to closing that are customary
Borrowing                 and appropriate for similar debtor-in-possession financings of this type.
Bankruptcy Rule
4001(c)(1)(B)            See DIP Promissory Note, ¶ 9.

Interest Rates            The DIP Loans will bear interest at a rate equal to the lower of (a) the Highest Lawful
Bankruptcy Rule           Rate; and (b) 10% per annum; provided, that, in the event the entire Balance of the DIP
4001(c)(1)(B)             Promissory Note except for any capitalized interest as of the date thereof is indefeasibly
                          paid in full in cash on or prior to the date that is 60 days following the Petition Date, no
                          such capitalized interest shall be payable in connection with such repayment.
                          See DIP Promissory Note, ¶ 1, “Applicable Rate” and “Highest Lawful Rate.”

Use of DIP                The Company shall use the proceeds of the Loans to finance, in each case consistent in
Promissory Note           all material respects with the Approved Budget (as defined below), subject to Permitted
                          Variances: (i) working capital, letters of credit, surety and performance bonds, and

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  Bankruptcy Rule        Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
Bankruptcy Rule        general corporate purposes of the DIP Note Parties, including capital expenditures and
4001(c)(l)(B)(ii)      Permitted Investments, (ii) the negotiation, documentation, pursuit and/or consummation
                       of an Acceptable Sale, (iii) costs, fees, expenses and charges, in each case, related to,
                       arising out of or in connection with the chapter 11 cases, subject to the Carve-Out, and
                       (iv) certain other prepetition and pre-filing expenses that are approved by the Court and
                       permitted by the Approved Budget.
                       See DIP Promissory Note, Ex. A ¶ 9.

Fees                   Upon the Maturity Date, the Company shall pay all reasonable out-of-pocket expenses
Bankruptcy Rule        incurred by Holder, including the fees, charges and disbursements of one primary counsel
4001(c)(1)(B)          to the Holder (including Weil, Gotshal & Manges LLP), one local counsel to the Holder
                       in each relevant jurisdiction and any other third party advisor consented to by the
                       Company (such consent not to be unreasonably denied, withheld or delayed), in
                       connection with the chapter 11 cases, the DIP Promissory Note (and any amendments,
                       modifications or waivers thereof), the enforcement of rights in connection with the DIP
                       Promissory Note and the administration of the DIP Promissory Note.
                       No other fees and expenses are due and payable under the terms of the DIP Promissory
                       Note.
                       See DIP Promissory Note, ¶ 8.2.

Budget                 The proceeds from the DIP Promissory Note is subject to the Approved Budget (as
Bankruptcy Rule 4001   defined herein), and the initial Approved Budget is attached as Schedule 2 to the Interim
(c)(1)(B)              DIP Order.
                       See DIP Promissory Note, Ex. D; Interim DIP Order, Schedule 2.

Case Milestones        The DIP Note Parties shall pursue and achieve the following milestones, in form and
Bankruptcy Rule        substance acceptable to the DIP Lender:
4001(c)(1)(B)
                                 (a)       on or before the date that is two (2) Business Days after the Petition
                       Date, the Court shall have entered the Interim DIP Order;
                                 (b)       on or before the date that is five (5) days after the Petition Date, the DIP
                       Note Parties shall file with the Court a sale motion and bid procedures motion in form
                       and substance reasonably acceptable to the Holder;
                                 (c)       on or before the date that is thirty five (35) days after the Petition Date,
                       the Court shall have entered the Final DIP Order;
                                 (d)       on or before the date that is forty-five (45) days after the Petition Date
                       (i) the Court shall have entered an order establishing bid procedures in form and substance
                       reasonably acceptable to the Holder (the “Bid Procedures Order”) which shall, among
                       other things, provide that the deadline for bidding be a date not later than fifty-five (55)
                       days from the Petition Date and the Bid Procedures Order shall approve entry into one or
                       more agreements that provide for one or more Acceptable Sale(s), or (ii) the Company
                       shall have obtained a binding commitment for a Replacement DIP and filed a motion with
                       the Court seeking entry of an order approving such Replacement DIP and the indefeasible
                       repayment in full in cash of the Balance;
                                 (e)       on or before the date that is sixty (60) days after the Petition Date, either
                       (i) one or more sale orders in form and substance acceptable to the Holder with respect to
                       one or more Acceptable Sales shall have been entered by the Court, or (ii) the Court shall
                       have entered one or more orders approving the Debtors’ entry into a Replacement DIP
                       and the indefeasible repayment in full in cash of the Balance (the “DIP Refinancing
                       Order”);



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  Bankruptcy Rule        Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                                 (f)       if the DIP Refinancing Order is entered, on or before the date that is
                       three (3) days after entry of the DIP Refinancing Order, the Balance shall be repaid in full
                       in cash with the net cash proceeds of the Replacement DIP;
                                 (g)      on or before the date that is sixty (60) days after the Petition Date, the
                       DIP Note Parties shall file with the Court an Acceptable Plan and a disclosure statement
                       with respect to such Acceptable Plan (the “Disclosure Statement”); provided, that the DIP
                       Note Parties’ compliance with this milestone shall not be affected by technical and
                       immaterial changes and other changes, modifications and supplements to such Acceptable
                       Plan and Disclosure Statement that are reasonably acceptable to the Holder filed with the
                       Court subsequent to the original filing of such Acceptable Plan and Disclosure Statement;
                                 (h)      on or before the date that is seventy (70) days after the Petition Date,
                       one or more Acceptable Sales shall be consummated;
                                 (i)      on or before the date that is ninety (90) days after the Petition Date, the
                       Court shall have entered an order approving the Disclosure Statement;
                                 (j)      on or before the date that is one hundred twenty (120) days after the
                       Petition Date, the Court shall have entered the Confirmation Order; and
                                 (k)      on or before the date that is one hundred thirty five (135) days after the
                       Petition Date, the Acceptable Plan shall be effective.

                       See DIP Promissory Note, Ex. D; Interim DIP Order ¶ 23.

Liens and Priorities   DIP Liens. Subject and subordinate solely to any Prior Perfected Liens and the Carve-
Bankruptcy Rule        Out as set forth in the Interim DIP Order, and effective immediately upon entry of this
4001(c)(l)(B)(i)       Interim DIP Order, pursuant to sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of the
                       Bankruptcy Code, the DIP Lender is granted, in order to secure the DIP Obligations,
                       continuing, valid, binding, enforceable, non-avoidable, and automatically and properly
                       perfected postpetition security interests in and liens on (collectively, the “DIP Liens”) all
                       real and personal property, whether now existing or hereafter arising and wherever
                       located, tangible, or intangible, of each of the Debtors (the “DIP Collateral”).
                       Superpriority Claims. Subject to the Carve-Out, upon entry of the Interim DIP Order, the
                       DIP Lender is granted, pursuant to section 364(c)(1) of the Bankruptcy Code, allowed
                       superpriority administrative expense claims in each of the chapter 11 cases and any
                       Successor Cases (collectively, the “DIP Superpriority Claims”) for all DIP Obligations
                       (a) with priority over any and all administrative expense claims and unsecured claims
                       against the Debtors or their estates in any of the chapter 11 cases or any Successor Cases,
                       at any time existing or arising, of any kind or nature whatsoever, including, without
                       limitation, administrative expenses of the kinds specified in or ordered pursuant to
                       sections 105, 326, 328, 330, 331, 364, 503(a), 503(b), 507(a), 507(b), 546(c), 546(d), 726,
                       1113, or 1114 of the Bankruptcy Code or any other provision of the Bankruptcy Code,
                       and (b) which shall at all times be senior to the rights of the Debtors and their estates, and
                       any successor trustee or other estate representative to the extent permitted by law. The
                       DIP Superpriority Claims shall be payable from, and have recourse to, all prepetition and
                       postpetition property of the Debtors and all proceeds thereof.
                       See Interim DIP Order, ¶ 6–8.

Carve-Out              The DIP Orders provide a “Carve-Out” of certain statutory fees and allowed professional
Bankruptcy Rule        fees of the Debtors pursuant to section 1103 of the Bankruptcy Code.
4001(c)(1)(B)
                       See Interim DIP Order, ¶ 30.




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   Bankruptcy Rule       Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)

 Challenge Period      The Interim DIP Order provides for a standard and customary challenge period no later
 Bankruptcy Rule       than the date that is sixty (60) days from the formation of the Committee (the “Challenge
 4001(c)(l)(B)         Deadline”), as such deadline may be extended in writing from time to time in the sole
                       discretion of the DIP Lender or by this Court for good cause shown pursuant to an
                       application filed by a party in interest prior to the expiration of the Challenge Deadline.
                       See Interim DIP Order, ¶ 32(a).

 Events of Default     The DIP Promissory Note contains events of default that are usual and customary for
 Bankruptcy Rule       debtor-in-possession financings, including without limitation, the failure to timely
 4001(c)(l)(B)         comply with any of the Case Milestones.
                       See DIP Promissory Note, Section ¶ 6; Interim DIP Order ¶ 22.

 Waiver/Modification   Pursuant to the Interim DIP Order, the automatic stay provisions of section 362 of the
 of the Automatic      Bankruptcy Code are modified to the extent necessary to implement and effectuate the
 Stay                  terms of the Interim DIP Order.
 Bankruptcy Rule
 4001(c)(1)(B)(iv)     See Interim DIP Order, ¶ 13.

 Indemnification       The DIP Promissory Note contains indemnification provisions ordinary and customary
 Bankruptcy Rule       for financings of this type, including that the Holder (and its officers, directors,
 4001(c)(1)(B)(ix)     employees, advisors and agents) (each such person, an “Indemnitee”) will have no
                       liability for, and will be indemnified and held harmless against, any actual losses, claims,
                       damages, liabilities or expenses (in the case of (i) legal fees and expenses, limited to
                       reasonable and documented fees and out-of-pocket expenses of one primary counsel for
                       all such Indemnitees taken as a whole, which, in each case, shall exclude allocated costs
                       of in-house counsel and (ii) any other advisor or consultant, solely to the extent the
                       Company has consented to the retention of such person) incurred or arising out of, in
                       connection with, or as a result of, the DIP Promissory Note, any other Financing
                       Document, any Loan, the use of the proceeds thereof or the financing contemplated by
                       the DIP Promissory Note and the other Financing Documents, except to the extent they
                       are found by a final, non-appealable judgment of a court of competent jurisdiction to arise
                       from the gross negligence, bad faith, material breach by the Holder of its funding
                       obligations under the DIP Promissory Note or willful misconduct of the relevant
                       Indemnitee.
                       See DIP Promissory Note, ¶ 8.3.


                          Statement Regarding Significant Provisions

        8.      The    Interim       DIP       Order       contains       certain      of     the      provisions

(the “Significant Provisions”) identified in paragraph 27 of the Complex Case Procedures as set

forth below:

        9.      The Interim DIP Order and the Final DIP Order, as applicable, include the

following Significant Provisions:


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        (a) Case Milestones. As detailed in the Summary of Material Terms herein,
            the Interim DIP Order contains Case Milestones the Debtors shall achieve
            with respect to the marketing and sale of their assets. See Interim DIP
            Order ¶ 22.

        (b) No Cross-Collateralization. The DIP Orders do not provide for cross-
            collateralization.

        (c) No Roll ups. The DIP Orders do not provide for (i) provisions deeming
            pre-petition debt to be post-petition debt; and (ii) provisions requiring the
            proceeds of post-petition loans to be used to repay pre-petition debt.

        (d) Liens on Avoidance Actions. As detailed in the Summary of Material
            Terms herein, subject to and upon entry of the Final DIP Order, the DIP
            Liens shall attach to the proceeds of any avoidance actions brought pursuant
            to chapter 5 of the Bankruptcy Code or section 724(a) of the Bankruptcy
            Code or any other avoidance actions under the Bankruptcy Code or
            applicable state law equivalents (the “Avoidance Action Proceeds”). See
            Interim DIP Order ¶ 6.

        (e) Default Provisions and Remedies. As detailed in the Summary of Material
            Terms herein, the DIP Promissory Note contain events of default that are
            usual and customary for debtor-in-possession financings, including without
            limitation, the failure to timely comply with any of the Case Milestones.
            Upon the occurrence of an event of default, (a) the DIP Lender may declare
            (i) all outstanding DIP Obligations to be immediately due and payable, (ii)
            the termination, reduction, or restriction of any further commitment to
            extend credit to the Debtors to the extent any such commitment remains
            under the DIP Facility, (iii) termination of the DIP Facility and the DIP
            Documents as to any future liability or obligation of the DIP Lender,
            without affecting any of the DIP Liens or the DIP Obligations, or the post-
            petition administrative superpriority claim status of the DIP Obligations,
            and (iv) that the application of the Carve-Out has occurred through the
            delivery of the Carve-Out Trigger Notice (as defined below) to the Debtors;
            and (b) the DIP Lender may declare a termination, reduction or restriction
            of the Debtors’ ability to use any cash collateral (any such declaration shall
            be referred to as a “Termination Declaration” and the date on which a
            Termination Declaration is delivered shall be referred to as the “DIP
            Termination Date”). See Interim DIP Order ¶ 22, 24.

        (f) Releases. Subject to entry of the Final DIP Order and the Conflicts
            Committee (as defined below) conducting a Board Investigation (as defined
            below) and the Board Investigation concluding that granting the releases
            contemplated in the Interim DIP Order is a reasonable exercise of business
            judgement, and is in the best interest of the Debtors’ estates, the DIP Lender
            and certain related parties shall be released by the Debtors and their
            estates. See Interim DIP Order ¶ 37.

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        (g) Limits on Use of Cash Collateral other than “Carve-Outs.” Proceeds of
            the DIP Facility shall be used in a manner consistent in all material respects
            with the terms and conditions of this Interim DIP Order and the DIP
            Documents and in accordance in all material respects with the budget (as
            the same may be modified from time to time consistent with the terms of
            the DIP Documents and subject to Permitted Variance, the “Budget”)
            (subject to Permitted Variances), solely for the purposes set forth in the DIP
            Agreement and this Interim DIP Order, including: (a) ongoing working
            capital and other general corporate purposes of the Debtors; (b) permitted
            payment of costs of administration of the chapter 11 cases, including
            restructuring charges arising on account of the chapter 11 cases, including
            statutory fees of the U.S. Trustee and allowed professional fees and
            expenses of the Debtors’ professionals and professionals retained by a
            Committee (if any); (c) payment of prepetition expenses to the extent
            permitted by the DIP Facility; (d) payment of interest, premiums, fees,
            expenses, and other amounts (including, without limitation, legal and other
            professionals’ fees and expenses of the DIP Lender) owed under the DIP
            Documents, including those incurred in connection with the preparation,
            negotiation, documentation, and the Court’s approval of the DIP Facility;
            and (e) payment of obligations arising from or related to the Carve-Out, and
            making disbursements therefrom, including by funding the Carve-Out
            Reserve Account. See Interim DIP Order ¶ G(iv).

        (h) No Priming Liens. The DIP Orders do not seek any priming liens.

        (i) No Provisions that Limit the Ability of Estate Fiduciaries to Fulfill their
            Duties under the Bankruptcy Code and Applicable Law. The DIP Orders
            do not limit the ability of the estate fiduciaries to fulfil their duties under the
            Bankruptcy Code and applicable law.

        (j) Validity, Perfection, and Amount of Prepetition Liens. As detailed in the
            Summary of Material Terms herein, the Debtors have agreed to the various
            stipulations and made various admissions contained in the Interim DIP
            Order. See Interim DIP Order ¶ 6.

        (k) Provisions Granting Superpriority Claims. As detailed in the Summary of
            Material Terms herein, the DIP Orders provide for joint and several
            superpriority administrative claims against the Debtors as provided by
            section 364(c)(1) of the Bankruptcy Code, (a) with priority over any and all
            administrative expense claims and unsecured claims against the Debtors or
            their estates in any of the chapter 11 cases or any Successor Cases, at any
            time existing or arising, of any kind or nature whatsoever, including,
            without limitation, administrative expenses of the kinds specified in or
            ordered pursuant to sections 105, 326, 328, 330, 331, 364, 503(a), 503(b),
            507(a), 507(b), 546(c), 546(d), 1113, or 1114 of the Bankruptcy Code or
            any other provision of the Bankruptcy Code, and (b) which shall at all times
            be senior to the rights of the Debtors and their estates, and any successor

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                       trustee or other estate representative to the extent permitted by law. The
                       DIP Superpriority Claims shall be payable from, and have recourse to, all
                       prepetition and postpetition property of the Debtors and all proceeds
                       thereof. See Interim DIP Order ¶ 8.

                   (l) 506(c) Waiver. As detailed in the Summary of Material Terms herein,
                       subject to and upon entry of the Final DIP Order, except with respect to the
                       Carve-Out, no costs or expenses of administration of the chapter 11 cases
                       or any future proceeding that may result therefrom shall be charged against
                       or recovered from the DIP Collateral or DIP Lender pursuant to sections
                       105(a) or 506(c) of the Bankruptcy Code or any similar principle of law or
                       equity, without the prior written consent of the affected party and no such
                       consent shall be implied from any other action, inaction, or acquiescence by
                       any party. See Interim DIP Order ¶ 34.

       10.     The DIP Promissory Note is critical to the Debtors’ continuing operations and

essential to facilitating a successful marketing and sale process. In light of the foregoing, the

Significant Provisions are appropriate under the facts and circumstances of these chapter 11 cases.

Accordingly, the Significant Provisions in the DIP Orders should be approved.

                                    Jurisdiction and Venue

       11.     The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent, pursuant to rule

7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a

final order by the Court.

       12.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       13.     The bases for the relief requested herein are sections 105, 361, 362, 363, 364, 503,

and 507 of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2002

and 4001, and rules 4002-1 and 9013-1 of the Local Bankruptcy Rules for the Southern District

of Texas.




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       14.       On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. In support of this Motion, the Debtors submit the

Niemann Declaration and the First Day Declaration.

                              The Debtors’ Prepetition Capital Structure

       15.       As of the Petition Date, the Debtors and certain of their non-debtor subsidiaries

have an aggregate principal amount of approximately $1.29 billion to $1.55 billion in total

obligations, consisting primarily of (i) prepetition funded debt of certain of the Debtors’ foreign

non-Debtor subsidiaries, (ii) surety bond obligations, (iii) letters of credit, and (iv) corporate

guarantees. The estimated aggregate outstanding amount of each debt obligation is as follows:

 Funded Debt                                                       Principal Amount (in USD)
 Prepetition Foreign Funded Debt                                   $72.4 million
    Prepetition Samba Credit Facility                              $16.7 million
    Prepetition SIDF Term Loan                                     $16.3 million
    Prepetition YES Bank Facility                                  $39.5 million
 Bonding and Letters of Credit                                     $699.1 million
    Surety Bond Obligations                                        $676.7 million
    Letters of Credit                                              $22.3 million
 Corporate Guarantees                                              $514.8 million–$779.2 million
 Total Debt Obligations                                            $1.29 billion–$1.55 billion

       16.       In   addition    to   the   debt   obligations,   Debtor   Katerra   Inc.   (Cayman)

(“Katerra Cayman”) has a total number of 12,195,150 shares on a fully diluted basis as of the

Petition Date.

       (a)       Prepetition Foreign Funded Debt of Non-Debtor Subsidiaries.

                        (i)      Samba Credit Facility.

       17.       On July 19, 2019, Katerra Delaware and Katerra Cayman, as guarantors, entered

into that certain credit facility (as amended, restated, amended and restated, supplemented, waived,

or otherwise modified from time to time, the “Samba Credit Agreement”), with non-Debtor

subsidiary Katerra Saudi Arabia, LLC (“Katerra Saudi Arabia”), as borrower, and Samba Financial

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Group, as lender, to fund certain projects in the Middle East region. The Samba Credit Agreement

provides an aggregate availability of approximately $133 million (the “Samba Credit Facility”).

As of the Petition Date, the Debtors estimate that approximately $16.7 million is outstanding on

account of the Samba Credit Facility.

                      (ii)    SIDF Term Loan.

        18.   On October 23, 2019, Katerra Cayman, as guarantor, entered into that certain term

loan agreement (as amended, restated, amended and restated, supplemented, waived, or otherwise

modified from time to time, the “SIDF Term Loan Agreement”), with Katerra Saudi Arabia, as

borrower, and Saudi Industrial Development Fund, as lender, for an aggregate principal amount of

approximately USD $81.5 million (the “SIDF Term Loan”) to fund certain projects in the Middle

East region. The SIDF Term Loan is secured by a lien on all of the fixed assets of non-Debtor

subsidiary Katerra Saudi Arabia LLC – Branch Jeddah (Saudi Arabia). As of the Petition Date,

the Debtors estimate that approximately $16.3 million is outstanding on account of the SIDF Term

Loan.

                      (iii)   YES Bank Facility.

        19.   Katerra Delaware is party to that certain agreement (as amended, restated, amended

and restated, supplemented, waived, or otherwise modified from time to time, the “YES Bank

Agreement”) by and among non-Debtor subsidiary KEF Infrastructure India Pvt. Ltd., as borrower,

Katerra Delaware and non-Debtor Katerra Operating Company Inc., as guarantors, and YES Bank

Limited, as lender.    The YES Bank Agreement consists of (a) term loans maturing on

February 18, 2029 (the “YES Bank Term Loans”) in the aggregate principal amount of

approximately $34.7 million, and (b) a credit facility (the “YES Bank Credit Facility,” and,

together with the YES Bank Term Loans, the “YES Bank Facility”) with approximately $11

million of availability, approximately $4.8 million of which is drawn. The YES Bank Term Loans

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accrue interest at a rate of 11.15% and the YES Bank Credit Facility accrues interest at a rate of

10.2%. The YES Bank Facility is secured by a standby letter of credit in the amount of $10 million.

As of the Petition Date, the Debtors estimate that approximately $39.5 million is outstanding on

account of the YES Bank Facility.

       (b)     Bonding and Letters of Credit.

                       (i)     Surety Bond Obligations.

       20.     In the ordinary course of business, the Debtors are required to provide surety bonds

or other forms of similar credit support (collectively, the “Surety Bonds”) to certain third parties

to secure the payment or performance of obligations related to their construction projects

(the “Surety Bond Program”). Failure to provide, maintain, or timely renew the Surety Bonds may

jeopardize the Debtors’ ability to continue operations. As of the Petition Date, the Debtors

estimate that they have an aggregate liability of approximately $676.7 million on account of the

Surety Bond Program.

       21.     The Debtors are also parties to, or may become parties to, certain indemnity

agreements that set forth the sureties’ (each a “Surety” and collectively, the “Sureties”) rights to

recover from the Debtors (collectively, the “Surety Indemnity Agreements”) pursuant to which the

Debtors agree to indemnify such Surety from any loss, cost, or expense that such Surety may incur

on account of the issuance of any bonds on behalf of the Debtors. In addition, certain Surety

Indemnity Agreements allow the Sureties to request collateral security, including cash collateral

(collectively, the “Surety Collateral”), from the Debtors from time to time. As of the Petition Date,

the Sureties have a total of approximately $9.6 million held in certain bank accounts as

Surety Collateral pursuant to the Surety Indemnity Agreements.




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                       (ii)    Letters of Credit.

       22.      The Debtors have issued certain letters of credit to various other parties (such letters

of credit, the “Letters of Credit”). As of the Petition Date, the Debtors estimate that approximately

$22.3 million in Letters of Credit remain outstanding.

       (c)      Corporate Guarantees.

       23.      Katerra Cayman and Katerra Delaware have guaranteed certain projects of Katerra

Saudi Arabia. Under these guarantees, Katerra Cayman and Katerra Delaware may be liable for

unfunded obligations of Katerra Saudi Arabia under performance bonds, bid bonds, advance

payment guarantees, and letters of credit provided in favor of project owners. As of the Petition

Date, the Debtors estimate that they have guaranteed approximately $514.8 million to $779.2

million in project obligations of Katerra Saudi Arabia.

       (d)      Current Equity Holdings.

       24.      As of the Petition Date, Katerra Cayman has approximately 12,194,322 shares

issued and outstanding consisting of approximately: 15,005 in common stock issued and

outstanding; and 12,179,065 in preferred stock issued and outstanding. Additionally Katerra

Cayman had approximately 252 options and restricted stock units issued and outstanding; and

approximately 828 shares available for issuance under Katerra Cayman’s equity incentive plan.

As a result, the total number of shares of Katerra Cayman on a fully diluted basis is 12,195,150.

As of April 30, 2021, the total book value of the equity in Katerra Cayman was approximately

$203,187,107.

       25.      Prior to the Petition Date, Katerra Cayman’s equity was primarily held by the

following entities:

          Stakeholder                      Series A Preferred            Ownership Percentage
 SVF Abode (Cayman) Limited             11,420,798                    93.65%
 SVF II Abode (Cayman) Limited          762,144                       6.25%

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 SVF Habitat (Cayman) Limited          7,775                         0.06%

                                  The Debtors Have a Need for
                                 Debtor-in-Possession Financing

       26.     The Debtors require immediate access to capital. As of the Petition Date, the

Debtors’ total unrestricted cash balance is insufficient to operate their business and continue

paying their obligations as they come due. Given the capital-intensive nature of the Debtors’

businesses and the position of the Debtors as general contractors on a multitude of projects, the

Debtors had to ensure that projects were appropriately funded and that subcontractors on these

projects were paid. See Niemann Decl. ¶ 28. Consequently, the Debtors’ available liquidity was

strained to an unsustainable level leading up to the filing of these chapter 11 cases. See id. As

such, the Debtors will need immediate access to the liquidity provided by the DIP Promissory Note

to fund these chapter 11 cases, market and sell their assets and pursue the orderly wind down of

their businesses.

       27.     Absent expedient and fully funded chapter 11 cases, a combination of insufficient

funding and heightened business disruption would make it nearly impossible for the Debtors to

pursue, much less consummate, a marketing and sale process, cause significant and permanent

value destruction, and would otherwise be detrimental to potential creditor recoveries. See

Niemann Decl. ¶ 31.

                               Alternative Sources of Financing
                          Are Not Available Given the Circumstances

       28.     Before commencing the DIP financing process, the Debtors recognized that it

would be particularly difficult to secure financing given the severity of their liquidity position and

the immediacy with which they required financing to avoid value destruction. Houlihan Lokey

immediately embarked on a process to raise liquidity on an exigent basis, approaching several

parties, including SVF and other parties familiar with the Debtors’ businesses. See Niemann

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Decl. ¶ 29.   Given the very short time frame (approximately two weeks) along with the

complexities of the Debtors’ businesses and underlying assets, it was impractical to approach a

broad range of traditional financing sources. See id. As a result, Houlihan Lokey embarked on a

very targeted approach to solicit financing. Given its initial engagement on behalf of the Debtors

in September 2020, Houlihan Lokey was able to immediately engage in discussions with parties

who had a familiarity with the business and could potentially provide capital in a matter of weeks.

See id. Houlihan Lokey solicited both in-court and out-of-court financing proposals from SVF,

third party lenders, and parties who had expressed an interest in acquiring certain assets of the

Debtors. See id. Ultimately, the only party that was willing and able to provide the liquidity the

Debtors required on an expedited basis was SVF. See id.

       29.     Although the Debtors’ long-term liquidity needs to fully fund these chapter 11 cases

through a confirmed plan of liquidation are projected to exceed the liquidity provided by the DIP

Promissory Note, the DIP Promissory Note provides sufficient liquidity in the near-term to bridge

the Debtors through their transition into chapter 11 and to undertake an orderly and expeditious

asset monetization process. The Debtors have explored and considered other possible alternatives

for financing, and none are viable. Accordingly, the Debtors’ best path forward is to obtain credit

under the DIP Promissory Note and work to refinance the DIP Promissory Note or to consummate

one or more asset sales to provide additional liquidity to achieve an orderly, value maximizing

asset monetization and overall resolution of these chapter 11 cases. See Niemann Decl. ¶ 30.

       30.     The terms of the DIP Promissory Note are reasonable under the circumstances.

See Niemann Decl. ¶ 31. Although the Debtors and Houlihan attempted to negotiate more

favorable terms for the Debtors, the terms of the DIP Promissory Note are within market, and,

indeed, many economic terms are off-market because they are far better than the terms any



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borrower—let alone a debtor in chapter 11—could ever expect: there are no up-front fees, no exit

fees, no ticking fees, no premiums, no repayment or prepayment fees, no cash interest is required

and, if the loan is repaid within the first sixty (60) days, accrued interest is waived altogether, and

payment of all DIP Lenders’ advisors fees and expenses are deferred until maturity. The DIP

Promissory Note is the product of good-faith, robust arm’s-length negotiations and is necessary

for the Debtors to maximize value on behalf of their constituents in these cases. See Niemann

Decl. ¶ 32. Accordingly, approval of the DIP Promissory Note is in the best interests of the

Debtors’ estates and represents a sound exercise of the Debtors’ reasoned business judgment.

See Niemann Decl. ¶ 36.

                                          Basis for Relief

I.     The Debtors Should be Authorized to Obtain Postpetition Financing Through the
       DIP Documents.

     A. Entering into the DIP Documents is an Exercise of the Debtors’ Sound
        Business Judgment.

       31.     The Court should authorize the Debtors, as an exercise of their sound business

judgment, to enter into the DIP Documents and obtain access to the DIP Promissory Note. Courts

grant considerable deference to a debtor’s business judgment in obtaining postpetition secured

credit, so long as the agreement to obtain such credit does not run afoul of the provisions of, and

policies underlying, the Bankruptcy Code. See, e.g., In re N. Bay Gen. Hosp., Inc., No. 08-20368

(Bankr. S.D. Tex. July 11, 2008) (order approving postpetition financing on an interim basis as

exercise of debtors’ business judgment); In re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D.

Del. 2011) (“[C]ourts will almost always defer to the business judgment of a debtor in the selection

of the lender.”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases

consistently reflect that the court’s discretion under section 364 is to be utilized on grounds that

permit reasonable business judgment to be exercised so long as the financing agreement does not

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contain terms that leverage the bankruptcy process and powers or its purpose is not so much to

benefit the estate as it is to benefit a party-in-interest.”).

        32.     Specifically, to determine whether a debtor has met this business judgment

standard, a court need only “examine whether a reasonable business person would make a similar

decision under similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D.

Del. 2006); see also In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981)

(noting that courts should not second guess a debtor’s business decision when that decision

involves “a business judgment made in good faith, upon a reasonable basis, and within the scope

of [the debtor’s] authority under the [Bankruptcy] Code”).

        33.     Further, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Elingsen

McLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have

to enter into “hard bargains” to acquire funds for its reorganization).

        34.     The Debtors’ determination to move forward with the DIP Promissory Note is a

sound exercise of their business judgment following a thorough process and careful evaluation of

the availability and viability of alternatives likely to result in a favorable outcome given their

needs. Specifically, the Debtors and their advisors determined that the Debtors would require

postpetition financing to support the administration of their chapter 11 cases, pursue a marketing

and sale process, and otherwise wind down their businesses in an orderly manner. See Niemann

Decl. ¶ 28. The Debtors negotiated the DIP Documents with the DIP Lender in good faith, at




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arm’s length, and with the assistance of their advisors, and the Debtors believe that they have

obtained the best and only financing result given the circumstances. See Niemann Decl. ¶ 36.

       35.     The releases to be provided to the DIP Lender (and its affiliates) are reasonable and

appropriate and represent a sound exercise of the Debtors’ business judgment given the unique

circumstances of these chapter 11 cases. Unlike most chapter 11 cases, the Debtors do not seek a

release of their prepetition lenders. SVF (together with its affiliates) stand in the unique position

of a majority equity holder who has invested over $2.1 billion into the Debtors and who is unlikely

to receive a distribution in these cases on account of such contributions. It is the rare case where

a majority equity holder steps into the shoes of DIP lender. Moreover, the DIP Promissory Note

provides the Debtors with immediate access to liquidity on favorable economic terms under the

circumstances, including no up-front fees, no exit fees, no ticking fees, no premiums, no repayment

or prepayment fees, no cash interest is required and, if the loan is repaid within the first sixty (60)

days, all accrued interest is waived, and payment of all DIP Lenders’ advisors fees and expenses

are deferred until the maturity of the DIP Promissory Note. These concessions from SVF are

designed to provide the Debtors as much liquidity as possible in the near term to avoid a chapter

7 filing and bridge the Debtors through an orderly and expeditious sale process and wind-down

intended to maximize value available for creditors.

       36.     Further, SVF is the only source of financing available to the Debtors to fund these

chapter 11 cases. The proposed DIP Promissory Note is critical to preserving the value of the

Debtors’ estates and providing the liquidity necessary for the Debtors to pursue a

value-maximizing marketing and sale process and orderly wind down of their business, which will

inure to the benefit of all stakeholders. The DIP Lender is not willing to provide the financing

necessary to prevent a catastrophic collapse of the Debtors in the absence of receiving a release.



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The Debtors do not believe there are any colorable claims or causes of action against the

DIP Lender, but out of an abundance of caution, the special committee of the Debtors’ Board of

Directors (“Conflicts Committee”) will conduct an independent investigation (the “Board

Investigation”) to determine whether the releases contemplated upon entry of the Final DIP Order

are warranted, in the best interest of the Debtors’ estates, and otherwise represent a sound exercise

of the Debtors’ business judgment. The releases are subject to the outcome of the Board

Investigation and the entry of the Final DIP Order, and thus they can only be effectuated if the

Special Committee determines that they are supported by the Debtors’ business judgment.

     B.      The Debtors Should be Authorized to Grant Liens and Superpriority Claims to
             the DIP Lender.

       37.      The Debtors propose to obtain financing under the DIP Promissory Note, in part,

by providing superpriority claims and liens pursuant to section 364(c) of the Bankruptcy Code.

The Debtors propose to provide first priority liens on all real and personal property, whether now

existing or hereafter arising and wherever located, tangible, or intangible, of each of the Debtors.

       38.      In the event that a debtor demonstrates that it is unable to obtain unsecured credit

allowable as an administrative expense under section 503(b)(1) of the Bankruptcy Code,

section 364(c) provides that a court:

                [M]ay authorize the obtaining of credit or the incurring of debt
                (1) with priority over any or all administrative expenses of the kind
                specified in section 503(b) or 507(b) of [the Bankruptcy Code];
                (2) secured by a lien on property of the estate that is not otherwise
                subject to a lien; or (3) secured by a junior lien on property of the
                estate that is subject to a lien.

11 U.S.C. § 364(c); see also In re Crouse Group, Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987)

(secured credit under section 364(c) of the Bankruptcy Code is authorized, after notice and hearing,

upon showing that unsecured credit cannot be obtained). Courts have articulated a three-part test



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to determine whether a debtor is entitled to financing pursuant to section 364(c) of the Bankruptcy

Code. Specifically, courts look to whether:

   (a) the debtor is unable to obtain unsecured credit under section 364(b) of the
       Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

   (b) the credit transaction is necessary to preserve the assets of the estate; and

   (c) the terms of the transaction are fair, reasonable, and adequate, given the
       circumstances of the debtor-borrower and proposed lenders.

See In re Ames Dep’t Stores, 115 B.R. 34, 37–40 (Bankr. S.D.N.Y. 1990); see also In re St. Mary

Hosp., 86 B.R. 393, 401–02 (Bankr. E.D. Pa. 1988); Crouse Group, 71 B.R. at 549.

       39.      Based on the immediacy with which the Debtors require financing to avoid value

destruction, the Debtors and their advisors believe that the DIP Promissory Note represents the

only alternative available to the Debtors under the circumstances. See Niemann Decl. ¶ 30. The

DIP Lender was not willing to provide the DIP Promissory Note on any other terms and there are

no alternative sources of financing available to the Debtors. See Niemann Decl. ¶ 36. The DIP

Promissory Note will provide the Debtors with postpetition financing on terms that the Debtors

believe represent their best and only viable alternative. See Niemann Decl. ¶ 35. Accordingly, the

superpriority claims and liens granted to the DIP Lender are appropriate and should be approved.

     C.      No Comparable Alternative to the DIP Promissory Note is Reasonably Available.

       40.      A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber

Prods., Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where only

a few lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic and

unnecessary to require [the debtor] to conduct such an exhaustive search for financing.”

Sky Valley, Inc., 100 B.R. at 113; see also In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986)

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(demonstrating that credit was unavailable absent the senior lien by establishment of unsuccessful

contact with other financial institutions in the geographic area); In re Stanley Hotel, Inc., 15 B.R.

660, 663 (D. Colo. 1981) (bankruptcy court’s finding that the refusal of two national banks to grant

unsecured loans was sufficient to support conclusion that section 364 requirement was met); In re

Ames Dep’t Stores, 115 B.R. at 37–39 (debtor must show that it made reasonable efforts to seek

other sources of financing under section 364(a) and (b)).

       41.     Simply put, alternative sources of financing with better, or even as favorable, terms

as those of the DIP Promissory Note are not available to the Debtors. See Niemann Decl. ¶ 36.

Further, the DIP Promissory Note is the product of good-faith, arm’s-length negotiations and is

necessary for the Debtors to pursue a value-maximizing marketing and sale process. See id.

Accordingly, approval of the DIP Promissory Note is in the best interests of the Debtors’ estates

and represents a sound exercise of the Debtors’ reasoned business judgment. See id.

  II.      The Debtors Should be Authorized to Pay the Interest Required by the DIP
Lender under the DIP Documents.

       42.     Under the DIP Documents, the Debtors have agreed, subject to Court approval, to

pay interest to the DIP Lender. In particular, the Debtors have agreed to pay interest at the

“Applicable Rate” as defined in the DIP Promissory Note meaning a rate equal to the lower of:

(a) the Highest Lawful Rate; and (b) 10.00% per annum. Notably, this interest is only due and

payable upon maturity of the DIP Promissory Note, and only if the DIP Promissory Note is not

repaid within the first sixty (60) days of the chapter 11 cases. If the DIP Loan is repaid in full in

cash on or prior to the date that is sixty (60) days following the Petition Date, all accrued interest

is waived.

       43.     The Debtors believe that the interest to be paid under the DIP Promissory Note is

consistent with the market given the financial and operating condition of the Debtors, the timing,


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cost, and risk of administering these chapter 11 cases, and the Debtors’ liability profile. The

Debtors considered the rate described above when determining in their sound business judgment

that the DIP Promissory Note constituted the best and only actionable terms on which the Debtors

could obtain the postpetition financing necessary to continue their operations, prosecute their

cases, and benefit the Debtors’ estates. Accordingly, the Court should authorize the Debtors to

pay the interest provided under the DIP Documents in connection with the DIP Promissory Note.

  III.      The DIP Lender Should be Afforded Good-Faith Protection Under
Section 364(e) of the Bankruptcy Code.

       44.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under this
               section [364 of the Bankruptcy Code] to obtain credit or incur debt,
               or of a grant under this section of a priority or a lien, does not affect
               the validity of any debt so incurred, or any priority or lien so granted,
               to an entity that extended such credit in good faith, whether or not
               such entity knew of the pendency of the appeal, unless such
               authorization and the incurring of such debt, or the granting of such
               priority or lien, were stayed pending appeal.

       45.     The DIP Promissory Note is the result of (i) the Debtors’ reasonable and informed

determination that the DIP Lender offered the only terms on which to obtain critical postpetition

financing given the circumstances and (ii) extensive good-faith, arm’s-length negotiations

between the Debtors and the DIP Lender. The terms and conditions of the DIP Promissory Note

are reasonable and appropriate under the circumstances, and the proceeds of the DIP Promissory

Note will be used only for purposes that are permissible under the Bankruptcy Code. Accordingly,

the obligations arising under the DIP Promissory Note and other financial accommodations made

to the Debtors have been extended by the DIP Lender in “good faith” within the meaning of

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section 364(e) of the Bankruptcy Code and, therefore, the DIP Lender is entitled to all of the

protections afforded thereby.

    IV.         The Automatic Stay Should be Modified on a Limited Basis.

          46.   The Interim DIP Order provides that the automatic stay provisions of section 362

of the Bankruptcy Code will be modified to allow the DIP Lender to file any financing statements,

security agreements, notices of liens, and other similar instruments and documents in order to

validate and perfect the liens and security interests granted to them under the DIP Orders. The

proposed Interim DIP Order further provides that the automatic stay is modified to the extent

necessary to implement and effectuate the terms of the Interim DIP Order.

          47.   Stay modifications of this kind are ordinary and standard features of debtor-in-

possession financing arrangements, and, in the Debtors’ business judgment, are reasonable and

fair under the circumstances of these chapter 11 cases.

  V.      Failure to Obtain Immediate Interim Access to the DIP Promissory Note
Would Cause Immediate and Irreparable Harm.

          48.   Bankruptcy Rule 4001(c) provides that a final hearing on a motion to obtain credit

pursuant to section 363 of the Bankruptcy Code may not be commenced earlier than 14 days after

the service of such motion. Upon request, however, the court is empowered to conduct an interim

expedited hearing on the motion at which it may authorize a debtor to obtain credit to the extent

necessary to avoid immediate and irreparable harm to a debtor’s estate. See Bankruptcy Rule

4001(c)(2).     Section 363(c)(3) of the Bankruptcy Code authorizes the court to conduct a

preliminary hearing and to authorize the use of cash collateral “if there is a reasonable likelihood

that the [debtor] will prevail at the final hearing under [section 363(e) of the Bankruptcy Code].”

11 U.S.C. § 363(c)(3). Furthermore, the Complex Case Procedures provide that “[o]n motion by




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the debtor(s), a hearing . . . will routinely be conducted within three business days to consider . . .

interim debtor-in-possession financing[.]” Complex Case Procedures, § J, ¶ 23.

        49.      The Debtors require immediate access to the financing under the DIP Promissory

Note. The Debtors available liquidity was strained to an unsustainable level leading up to the

filing of these chapter 11 case and the Debtors and their advisors determined that their best path

forward is to obtain credit under the DIP Promissory Note and work to refinance the DIP

Promissory Note or to consummate one or more asset sales to provide additional liquidity to

achieve an orderly value maximizing asset monetization and overall resolution of these chapter 11

cases. See Niemann Decl. ¶ 28. Without immediate access to the DIP Promissory Note as

structured, the Debtors and their constituents risk massive value degradation. See Niemann

Decl. ¶ 31. Thus, to preserve value and avoid irreparable harm pending the Final Hearing on the

DIP Promissory Note, it is essential that the Debtors have access to credit under the DIP

Promissory Note on an interim basis as requested. See id.

        50.      Prior to the Petition Date, the Debtors, in consultation with their advisors, including

Alvarez & Marsal North America, LLC, reviewed and analyzed their projected cash needs and

prepared projections (as updated from time to time in accordance with the terms of the

DIP Promissory Note, the “Approved Budget”)5 of postpetition cash needs for the Debtors’

businesses in the initial twelve weeks of these chapter 11 cases, including detailed line items for

categories of cash flows anticipated to be received or disbursed during this period, and, along with

the longer term monthly forecasts, was utilized to determine the amount of postpetition financing

required to administer these chapter 11 cases. The Approved Budget and projections provide an



5   A copy of the initial Approved Budget is attached to the Interim DIP Order as Schedule 2.



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accurate reflection of the Debtors’ likely funding requirements over the identified period,

respectively, and are reasonable and appropriate under the circumstances.

       51.     Failure to obtain access to the DIP Promissory Note will result in immediate and

irreparable harm to the Debtors and their stakeholders, and will diminish the value of the Debtors’

estates. Absent approval of the DIP Promissory Note, to enable expedient chapter 11 cases, a

combination of insufficient funding and heightened business disruption would make it nearly

impossible for the Debtors to pursue, much less consummate, a marketing and sale process and

cause significant and permanent value destruction.

       52.     Accordingly, pursuant to section 363(c)(3) of the Bankruptcy Code and Bankruptcy

Rule 4001(c), the Debtors request that the Court conduct an expedited hearing on this Motion, and

enter the Interim DIP Order authorizing the Debtors to enter into the DIP Promissory Note.

                                    Request for Final Hearing

       53.     Pursuant to Bankruptcy Rule 4001(c)(2), the Debtors request that the Court set a

date for the Final Hearing that is as soon as practicable, and fix the time and date prior to the Final

Hearing for parties to file objections to this Motion.

                                    Emergency Consideration

       54.     Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors request emergency

consideration of this Motion pursuant to Bankruptcy Rule 6003, which empowers a court to grant

relief within the first twenty-one days after the commencement of a chapter 11 case “to the extent

that relief is necessary to avoid immediate and irreparable harm.” The Debtors believe an

immediate and orderly transition into chapter 11 is critical to the viability of their operations and

that any delay in granting the relief requested could hinder the Debtors’ operations and cause

irreparable harm. Furthermore, the failure to receive the requested relief during the first twenty-

one days of these chapter 11 cases would severely disrupt the Debtors’ operations at this critical

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juncture and imperil the Debtors’ restructuring. Accordingly, the Debtors have satisfied the

“immediate and irreparable harm” standard of Bankruptcy Rule 6003 and request that the Court

approve the relief requested in this Motion on an emergency basis.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       55.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the fourteen-day stay period

under Bankruptcy Rule 6004(h).

                                              Notice

       56.     The Debtors will provide notice of this motion to the following parties or their

counsel: (a) the United States Trustee for the Southern District of Texas; (b) the holders of the

40 largest unsecured claims against the Debtors (on a consolidated basis); (c) Weil, Gotshal &

Manges LLP, Attn: Gary Holtzer, Jessica Liou, Scott Bowling, David J. Cohen; (d) the Office of

the United States Attorney for the Southern District of Texas; (e) the state attorneys general for

states in which the Debtors conduct business; (f) the Internal Revenue Service; (g) the Securities

and Exchange Commission; (h) the Environmental Protection Agency and similar state

environmental agencies for states in which the Debtors conduct business; (i) any party that has

requested notice pursuant to Bankruptcy Rule 2002; and (j) any other party entitled to notice

pursuant to Bankruptcy Local Rule 9013-1(d). In light of the nature of the relief requested, no

further notice is required.




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       The Debtors request that the Court enter the DIP Orders, granting the relief requested in

this Motion and such other and further relief as is appropriate under the circumstances.

 Houston, Texas
 June 7, 2021

 /s/ Matthew D. Cavenaugh
 JACKSON WALKER LLP                                  KIRKLAND & ELLIS LLP
 Matthew D. Cavenaugh (TX Bar No. 24062656)          KIRKLAND & ELLIS INTERNATIONAL LLP
 Jennifer F. Wertz (TX Bar No. 24072822)             Joshua A. Sussberg, P.C. (pro hac vice pending)
 J. Machir Stull (TX Bar No. 24070697)               Christine A. Okike, P.C. (pro hac vice pending)
 1401 McKinney Street, Suite 1900                    601 Lexington Avenue
 Houston, Texas 77010                                New York, New York 10022
 Telephone: (713) 752-4200                           Telephone: (212) 446-4800
 Facsimile: (713) 752-4221                           Facsimile: (212) 446-4900
 Email:       mcavenaugh@jw.com                      Email:        joshua.sussberg@kirkland.com
               jwertz@jw.com                                       christine.okike@kirkland.com
               mstull@jw.com

 Proposed Co-Counsel to the Debtors                  Proposed Co-Counsel to the Debtors
 and Debtors in Possession                           and Debtors in Possession




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                                      Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Local Rule 9013-1(i).

                                                       /s/ Matthew D. Cavenaugh
                                                       Matthew D. Cavenaugh

                                      Certificate of Service

        I certify that on June 7, 2021, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                       /s/ Matthew D. Cavenaugh
                                                       Matthew D. Cavenaugh
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                            Exhibit A

                       Niemann Declaration
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            ) Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                ) (Joint Administration Requested)
                                                                      )

                  DECLARATION OF MATTHEW R. NIEMANN IN SUPPORT OF
                     (A) DIP FINANCING AND (B) ALL FIRST DAY RELIEF

             I, Matthew R. Niemann, declare under penalty of perjury:

             1.     I am a Managing Director, Shareholder, and senior member of the Financial

Restructuring Group at Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) (NYSE: HLI), a

financial advisory services and investment banking firm, headquartered at 10250 Constellation

Blvd., Los Angeles, California 90067. Houlihan has been engaged as the investment banker to the

above-captioned debtors and debtors-in-possession (collectively, the “Debtors”).

             2.     Houlihan Lokey was engaged to serve as investment banker for Katerra Inc.

(Cayman) and its affiliates (together with its Debtor and non-Debtor affiliates, “Katerra” or

the “Company”) initially in September 2020, where it advised the Company in conjunction with a

recapitalization transaction that closed in December 2020. Houlihan Lokey was re-engaged by the

Company in May 2021 to serve as the Debtors’ financial advisor and investment banker in

conjunction with the debtor-in-possession financing, restructuring, and asset monetization

processes that are underway in these chapter 11 cases. I am the senior-most officer at Houlihan



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
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Lokey with overall responsibility for Houlihan Lokey’s provision of professional services to the

Debtors.

        3.       I submit this declaration (this “Declaration”) to assist the Court and parties in

interest and in support of the relief requested in the Debtors’ Emergency Motion for Entry of

Interim and Final Orders (A) Authorizing the Debtors to Obtain Postpetition Financing,

(B) Granting Liens and Providing Claims with Superpriority Administrative Expense Status,

(C) Modifying the Automatic Stay, (D) Scheduling a Final Hearing, and (E) Granting Related

Relief (the “DIP Motion”).2

        4.       Houlihan Lokey has worked closely with the Debtors’ board, management,

restructuring counsel, Kirkland & Ellis LLP (“Kirkland”), and restructuring advisor, Alvarez &

Marsal North America LLP (“A&M”), in the lead up to these chapter 11 cases. Except as

otherwise indicated, all facts set forth herein are based on my personal knowledge, my discussions

with other members of my team at Houlihan Lokey, the Debtors’ senior management and board

members, other advisors to the Debtors, my review of relevant documents, or my opinion based

upon my experience, knowledge, and information concerning the Debtors’ operations and financial

affairs. If called upon to testify, I would testify competently to the facts set forth in this

Declaration.

                                    Background and Qualifications

        5.       Houlihan Lokey is an internationally recognized investment banking and financial

advisory firm with twenty-two offices worldwide. It is one of the leading advisors and investment

bankers to debtors, secured and unsecured creditors, acquirers, and other parties-in-interest in



2
    Capitalized terms used but not defined herein have the meaning given to them in the DIP Motion or Interim DIP
    Order, as applicable.


                                                       2
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complex financial restructurings, both in and out of bankruptcy. Houlihan Lokey provides

corporate finance, financial advisory, and financial restructuring services and has the largest

worldwide financial restructuring practice of any investment bank. I joined Houlihan Lokey 22

years ago. A true and correct copy of my curriculum vitae is attached hereto as Exhibit 1.

       6.      I hold a finance and law degree from St. Louis University and St. Louis University

School of Law, respectively. I have been involved in restructurings for over 32 years, having

started my career as an attorney with Bryan Cave in St. Louis from 1989–1996, where I practiced

in the banking, real estate, and corporate groups.              I also worked at KPMG and

PricewaterhouseCoopers prior to joining Houlihan Lokey in 1999. I left Houlihan Lokey in 2006

and joined Cerberus Capital as a Managing Director and portfolio manager and later GMAC

ResCap (a Cerberus portfolio company) where I served as Senior Managing Director and Chief

Strategic Officer in charge of strategy for its $5.0 billion portfolio of builder and developer real

estate investments. I returned to Houlihan Lokey in September 2008, where I founded the Firm’s

Real Estate Strategic Advisory and Real Estate Restructuring Investment Banking groups.

       7.      From 2012–2019, I was a member of the Board of Directors of William Lyon

Homes (NYSE: WLH), one of the largest homebuilders in the Western United States, where I

chaired the Compensation Committee, and sat on the Governance, and Audit Committees. I also

chaired the Pricing Committee for WLH’s IPO in May 2013.

       8.      In addition to Houlihan Lokey’s engagement for the Debtors, I have led Houlihan

Lokey’s engagements on several other debtor or sell-side restructurings in the bankruptcy courts

of Texas, including, among others:         In re Bristow Group, Inc., No. 19-32713 (DRJ)

(Bankr. S.D. Tex.); In re SandRidge Energy, Inc. No. 16-32488 (DRJ) (Bankr. S.D. Tex.);

In re PHI Inc. No. 19-303932 (HDH) (Bankr. N.D. Tex.); In re CHC Group Ltd., No. 16-31854



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(BJH) (Bankr. N.D. Tex.); In re ALCO Stores, Inc., No. 14-34941 (SGJ) (Bankr. N.D. Tex.);

In re Linden Ponds, Inc., No. 11-33913 (SGJ) (Bankr. N.D. Tex.); In re Erickson Retirement

Communities, LLC, No. 09-37010 (SGJ) (Bankr. N.D. Tex.); and In re National Benevolent

Association, No. 04-50948 (RBK) (Bankr. W.D. Tex.). I testified as an expert in most of the

foregoing cases and have regularly testified as an expert in Chapter 11 cases over the last twenty-

five years on issues ranging from debtor in possession financing, distressed M&A, asset

monetization, and other issues core to these chapter 11 cases.

       9.      The Declaration of Marc Liebman in Support of Chapter 11 Petitions and First

Day Motions (the “First Day Declaration”), filed contemporaneously herewith, provides an

overview of Katerra’s businesses and the historical developments leading up to these chapter 11

cases. A summary of the Company’s recapitalization processes and current asset monetization

program are set forth in this Declaration.

I.     The Debtors’ Prepetition Capital Structure

       10.     As of the Petition Date, the Debtors and certain of their non-debtor subsidiaries

have an aggregate principal amount of approximately $1.29 billion to $1.55 billion in total

obligations, consisting primarily of (i) prepetition funded debt of certain of the Debtors’ foreign

non-Debtor subsidiaries, (ii) surety bond obligations, (iii) letters of credit, and (iv) corporate

guarantees. The estimated aggregate outstanding amount of each debt obligation is as follows:




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               A.         Prepetition Foreign Funded Debt of Non-Debtor Subsidiaries

                     i.         Samba Credit Facility

       11.     On July 19, 2019, Katerra Inc. (Delaware, US) (“Katerra Delaware”) and Katerra

Inc. (Cayman) (“Katerra Cayman”) as guarantors, entered into that certain credit facility (as

amended, restated, amended and restated, supplemented, waived, or otherwise modified from time

to time, the “Samba Credit Agreement”), with non-Debtor subsidiary Katerra Saudi Arabia, LLC

(“Katerra Saudi Arabia”), as borrower, and Samba Financial Group, as lender, to fund certain

projects in the Middle East region.       The Samba Credit Agreement provides an aggregate

availability of approximately $133 million (the “Samba Credit Facility”). As of the Petition Date,

the Debtors estimate that approximately $16.7 million is outstanding on account of the Samba

Credit Facility.

                    ii.         SIDF Term Loan

       12.     On October 23, 2019, Katerra Cayman, as guarantor, entered into that certain term

loan agreement (as amended, restated, amended and restated, supplemented, waived, or otherwise

modified from time to time, the “SIDF Term Loan Agreement”), with Katerra Saudi Arabia, as


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borrower, and Saudi Industrial Development Fund, as lender, for an aggregate principal amount of

approximately USD $81.5 million (the “SIDF Term Loan”) to fund certain projects in the Middle

East region. The SIDF Term Loan is secured by a lien on all the fixed assets of non-Debtor

subsidiary Katerra Saudi Arabia LLC – Branch Jeddah (Saudi Arabia). As of the Petition Date,

the Debtors estimate that approximately $16.3 million is outstanding on account of the SIDF Term

Loan.

                   iii.        YES Bank Facility

        13.    Katerra Delaware is party to that certain agreement (as amended, restated, amended

and restated, supplemented, waived, or otherwise modified from time to time, the “YES Bank

Agreement”) by and among non-Debtor subsidiary KEF Infrastructure India Pvt. Ltd., as borrower,

Katerra Delaware and non-Debtor Katerra Operating Company Inc., as guarantors, and YES Bank

Limited, as lender.       The YES Bank Agreement consists of (a) term loans maturing on

February 18, 2029 (the “YES Bank Term Loans”) in the aggregate principal amount of

approximately $34.7 million, and (b) a credit facility (the “YES Bank Credit Facility,” and,

together with the YES Bank Term Loans, the “YES Bank Facility”) with approximately

$11 million of availability, approximately $4.8 million of which is drawn. The YES Bank Term

Loans accrue interest at a rate of 11.15% and the YES Bank Credit Facility accrues interest at a

rate of 10.2%. The YES Bank Facility is secured by a standby letter of credit in the amount of $10

million. As of the Petition Date, the Debtors estimate that approximately $39.5 million is

outstanding on account of the YES Bank Facility.




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       B.      Bonding and Letters of Credit

       14.     A description of the Debtors’ surety bond obligations and outstanding letters of

credit is set forth in the First Day Declaration. See First Day Declaration ¶¶ 46–48.

       C.      Corporate Guarantees

       15.     Katerra Cayman and Katerra Delaware have guaranteed certain projects of Katerra

Saudi Arabia. Under these guarantees, Katerra Cayman and Katerra Delaware are liable for

unfunded obligations of Katerra Saudi Arabia under performance bonds, bid bonds, advance

payment guarantees, and letters of credit provided in favor of project owners. As of the Petition

Date, the Debtors estimate that they have guaranteed approximately $514.8 million to $779.2

million in project obligations of Katerra Saudi Arabia.

 II.   Katerra’s Common and Preferred Stock

       A.      Historical Capital Raises

       16.     Historically, Katerra raised the majority of its financing through multiple rounds of

equity investments. As a start-up, in 2015, Katerra raised approximately $14.5 million in capital

through two separate rounds of “angel” investing. The majority of the capital was provided by

Katerra’s three co-founders (Michael Marks, Jim Davidson, and Fritz Wolff) and certain of their

companies.




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                                                       Angel (Individual)                Angel (Individual)
 Investor                                                 Feb-2015                          Jun-2015
                                                      Contributed Capital               Contributed Capital
Foxconn (iCreate & Foxconn Ventures)            $                       0.00      $               2,000,000.00
Paxion Capital                                                            0.00                   4,000,000.00
Wolff-related entities                                               20,000.00                   4,000,000.00
Michael Marks (Outside Paxion)                                   475,900.00                              0.00
Jim Davidson (Outside Paxion)                                        98,000.00                           0.00
Fritz Wolff (Outside Paxion)                                         49,752.00                           0.00
Others                                                           276,348.00                      3,559,520.00
 Total                                          $                920,000.00       $            13,559,520.00
 Total Invested to Date                                          920,000.00                    14,479,520.00
 $ / share                                                              0.005                           0.50


         17.       In 2016, Katerra commenced a second round of venture capital funding, which

raised approximately $77.35 million in capital.

                                                                         Early Stage VC
                Investor                                                   Mar-2016
                                                                       Contributed Capital
               Foxconn (iCreate & Foxconn Ventures)              $             49,974,400.00
               Paxion Capital                                                         4,997,440.00
               Wolff-related entities                                                 2,989,540.00
               Jim Davidson (Outside Paxion)                                           490,820.00
               Others                                                             18,895,824.00
                  Round Total                                    $                77,348,024.00
                  Total Invested to Date                                          91,827,544.00
                  Post $ Valuation                                               577,321,170.00
                   $ / share                                                                 2.231


         18.       The following year, in 2017, Katerra commenced a Series C financing, which raised

another $141 million in capital.




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                                                                                                      Series C
                     Investor                                                                        Mar-2017
                                                                                                 Contributed Capital
                     Foxconn (iCreate & Foxconn Ventures)                                $               29,970,000.00
                     Paxion Capital                                                                              9,990,000.00
                     Others                                                                                 101,009,112.00
                      Round Total                                                        $                  140,969,112.00
                      Total Invested to Date                                                                232,796,656.00
                      Post $ Valuation                                                                    1,168,996,574.00
                       $ / share                                                                                              3.70


              19.       In 2018 and 2019, Katerra initiated four different rounds of financing and raised a

total of approximately $2.4 billion. During Katerra’s Series D-1 & D-2 financing and Series E

financing, SoftBank Vision Fund I (“SVF”) contributed approximately $1.4 billion of financing

and subsequently became Katerra’s largest capital investor (though SVF did not hold a controlling

stake in Katerra).
                                             Series D-1 & D-2       Series E (Incl. Extension)       Conv. Promissory Note          Middle East JV
 Investor                                        Jan-2018             Dec-2018 / Jul-2019                   Jul-2019              Q4 2018 & Jul-2019
                                            Contributed Capital       Contributed Capital             Contributed Capital         Contributed Capital
 Softbank                               $         649,999,950.00    $         749,999,988.00     $           200,000,000.00   $         150,000,000.00
 Foxconn (iCreate & Foxconn Ventures)               29,999,997.00                        0.00                          0.00                        0.00
 Michael Marks (Outside Paxion)                              0.00                4,999,992.00                          0.00                        0.00
 Katerra                                                     0.00             (52,000,000.00)                          0.00               52,000,000.00
 Others                                           390,775,676.00              242,001,091.00                           0.00                        0.00
  Round Total                           $        1,070,775,623.00   $         945,001,071.00     $           200,000,000.00   $         202,000,000.00
  Total Invested to Date                         1,303,572,279.00           2,248,573,350.00               2,448,573,350.00            2,650,573,350.00
  Post $ Valuation                               3,485,000,000.00           5,999,762,400.00                           0.00                        0.00
  $ / share                                                 79.50                        0.00                          0.00                        0.00



              20.       On December 9, 2019, Katerra Delaware entered into the Greensill Receivables

Facility by and among Katerra Delaware, a Delaware limited liability company, as a seller, the

other sellers party thereto and Greensill Limited (“Greensill”), together with the Transaction

Documents (as defined therein) (the “Greensill Receivables Facility”). It is my understanding that

SVF and/or its affiliates owned approximately 40% of Greensill at the time of the 2020

recapitalization transaction described herein.



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        21.    Pursuant to the terms of the Greensill Receivables Facility, Greensill paid Katerra’s

suppliers in exchange for a security interest in Katerra’s account receivables. Katerra would then

pay Greensill directly on the terms set forth in the Greensill Receivables Facility agreement instead

of its suppliers. Katerra relied on the Greensill Receivables Facility to fund operations instead of

raising capital through rounds of equity financing from December 2019 to May 2020. By

December 2020, Katerra owed approximately $440 million under the Greensill Receivables

Facility.

        22.    In May 2020, Katerra commenced another round of financing (Series F) with one

of its previous investors, SVF, to raise additional capital to fund operations. As described above,

in 2018 and 2019, SVF contributed capital of approximately $1.4 billion as a part of Katerra’s

Series D-1 & D-2 financing and Series E financing. In 2019, SVF provided Katerra with an

additional $200 million in exchange for a promissory note and another $150 million in exchange

for an ownership stake in non-Debtor Katerra Middle East. Pursuant to the terms of the Series F

financing, SVF provided Katerra with an initial $100 million in funding and agreed to fund another

$100 million approximately 45 days later. In addition, SVF exchanged its 49% ownership stake

in non-Debtor Katerra Middle East Inc. for another $150 million in Series F shares.

III.    The Debtors’ 2020 Recapitalization Transaction

        23.    In September 2020, Houlihan Lokey was engaged to render investment banking

services to Katerra in connection with Katerra’s liability management initiatives and exploration

of strategic alternatives.   During this initial engagement, Houlihan Lokey explored several

strategic alternatives, including the investment of third-party capital, the bifurcation of Katerra’s

businesses into a “NewCo / OldCo” and other alternatives. Katerra, with the assistance of

Houlihan Lokey, approached several parties, including existing counterparties of Katerra and other



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interested parties to explore financing and other strategic transactions. Houlihan Lokey actively

pursued negotiations with SVF and a consortium of new investors and existing stakeholders

(the “Consortium”) who expressed a desire to support Katerra’s business.              The proposed

transaction contemplated a new-money investment by the Consortium and SVF of approximately

$380 million in exchange for a 90% equity ownership stake in Katerra, with the remaining 10% of

Katerra’s equity reserved for management.         In addition, the transaction contemplated the

retirement of Katerra’s outstanding Greensill Receivables Facility and the sale of Katerra’s

ownership interests in certain foreign ventures. Katerra, SVF, and the Consortium executed a non-

binding letter of intent reflecting this transaction. The transaction, however, did not materialize.

       24.     In late November 2020, following the breakdown of negotiations with SVF and the

Consortium, SVF Abode (Cayman) Limited (“SVF Abode”), an affiliate of SVF, indicated an

interest in investing an additional $200 million to ensure Katerra would be able to meet its ongoing

obligations. Katerra issued a promissory note to SVF Abode in exchange for a $25 million bridge

loan while Katerra engaged with SVF Abode and other stakeholders to negotiate the terms of an

out-of-court financial restructuring and recapitalization of Katerra.

       25.     Ultimately, Katerra consummated a comprehensive recapitalization transaction at

the end of December 2020 on the following terms:

               •   SVF Abode exercised its warrant to purchase ordinary shares of the Company
                   and converted $300 million of promissory notes of the Company held by SVF
                   Abode to equity;

               •   the Company (i) converted all existing preferred share into ordinary shares of
                   the Company, and (ii) issued a new class of preferred shares (the Series A
                   preferred shares) to SVF Abode in exchange for $175 million in cash and
                   extinguishment of a $25 million bridge loan owed to SVF Abode;

               •   Greensill extinguished approximately $440 million owed by Katerra under the
                   Greensill Receivables Facility in exchange for approximately 5% of the
                   post-equity closing in Katerra, which equity was immediately transferred by
                   Greensill to an affiliate of SoftBank Vision Fund II (“SVF II”) in connection
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                      with a transaction in which SVF II invested $440 million in the parent company
                      of Greensill;

               •      5% of the post-closing equity was reserved for certain existing equity holders
                      and 15% of the post-closing equity was reserved in a share pool for an equity
                      incentive plan and related grants; and

               •      Katerra and Wolff Principal Holdings, L.P. (“Wolff”) settled and waived
                      certain claims against Katerra, including the amendment of the “Substantial
                      Completion Dates” of a number of active projects with Wolff and certain of its
                      related parties, and in exchange, Katerra granted Wolff a lien on its CLT facility
                      in Spokane, Washington.

As a part of this transaction, SVF was diluted to the same extent as all other investors

(100,000.0:1.0), which resulted in the previous $1.95 billion invested by SVF equating to less than

0.1% of the post-recapitalization transaction equity. A general summary of the Company’s

capitalization prior and subsequent to the 2020 recapitalization transaction is attached hereto as

Exhibit 2.

       26.     When Houlihan Lokey was retained in September 2020, Katerra had $740 million

in funded debt obligations, including the $440 million owing to Greensill under the Greensill

Receivables Facility and excluding the Debtors’ foreign affiliate debt, and approximately $2.3

billion in preferred and common equity capitalization. Through the 2020 recapitalization, all of

the Company’s funded debt obligations and existing preferred equity were extinguished. See

Exhibit 2.

       27.     As of the Petition Date, Katerra Cayman’s equity was primarily held by the

following entities:

 Stakeholder                                         Series A Preferred       Ownership Percentage
 SVF Abode (Cayman) Limited                                      11,420,798                     93.65%
 SVF II Abode (Cayman) Limited                                      762,144                      6.25%
 SVF Habitat (Cayman) Limited                                         7,775                      0.06%


IV.    The Debtors’ Need for Debtor-in-Possession Financing


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       28.     Upon re-engaging Houlihan Lokey in May 2021, it was determined that the Debtors

were operating at a perilous level of liquidity. The impact of the Greensill insolvency and the

press coverage in conjunction therewith, along with other rumors and concerns throughout the

marketplace, caused a run on Katerra’s liquidity, all as more fully set forth in the First Day

Declaration. Moreover, given the capital-intensive nature of the Debtors’ businesses and the

position of the Debtors as general contractors on a multitude of projects, the Debtors had to ensure

that projects were appropriately funded and that subcontractors on these projects were paid.

Consequently, the Company’s available liquidity was strained to an unsustainable level leading up

to the filing of these chapter 11 cases.

       29.     Houlihan Lokey embarked on a process to raise liquidity on an exigent basis,

approaching several parties, including SVF and other parties familiar with the Debtors’ businesses.

Given the very short time frame (approximately two weeks) along with the complexities of the

Debtors’ businesses and underlying assets, it was impractical to approach a broad range of

traditional financing sources. As a result, Houlihan Lokey embarked on a very targeted approach

to solicit financing. Given its initial engagement on behalf of the Company in September 2020,

Houlihan Lokey was able to immediately engage in discussions with parties who had a familiarity

with the business and could potentially provide capital in a matter of weeks. Houlihan Lokey

solicited both out-of-court and in-court financing proposals from SVF, third party lenders, and

parties who had expressed an interest in acquiring certain assets of Katerra. Ultimately, the only

party willing to provide the liquidity the Company required on an expedited basis was SVF.

       30.     Accordingly, the $35.0 million DIP Promissory Note is not only the best financing

available, but also the only financing that was available as of the Petition Date. Attached hereto

as Exhibit 3 is a summary of the key terms of the DIP Promissory Note. The Debtors’ best path



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forward is to obtain credit under the DIP Promissory Note and work to refinance the DIP

Promissory Note or to consummate one or more asset sales to provide additional liquidity to

achieve an orderly value maximizing asset monetization and overall resolution of these chapter 11

cases.

         31.   Without immediate access to the DIP Promissory Note as structured, the Debtors

and their constituents risk massive value degradation.      Thus, to preserve value and avoid

irreparable harm pending the Final Hearing on the DIP Promissory Note, it is essential that the

Debtors have access to credit under the DIP Promissory Note on an interim basis as requested.

         32.   Based on my experience in soliciting and negotiating debtor in possession

financings, it is my opinion that the terms of the DIP Promissory Note are reasonable under the

circumstances. While the Debtors and Houlihan Lokey attempted multiple times to negotiate more

favorable terms for the Debtors, the terms of the DIP Promissory Note are within market based on

my experience. Further, the DIP Promissory Note is the product of good-faith, robust arm’s-length

negotiations and is necessary for the Debtors to maximize value on behalf of its constituents in

these cases.

 V.      The Asset Monetization Process

         33.   Before the Petition Date, during Houlihan Lokey’s initial and re-engagement on

behalf of the Debtors, I and other members of the Houlihan Lokey team contacted several potential

parties, including existing counterparties and third-party bidders, who may have an interest in

acquiring portions of Katerra’s business and assets. The Debtors and Houlihan Lokey are currently

advancing discussions with these parties in an effort to identify the highest or otherwise best

bidders amongst them and to submit formal bids to the benefit of the Debtors’ estates. As of the

date hereof, that process remains very active and comprehensive.



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                                            Conclusion

       34.     Based on the foregoing, I believe the DIP Lender’s financing proposal represents

the best postpetition financing alternative available to the Debtors. The DIP Promissory Note will

provide the Debtors and their creditor constituencies with postpetition financing on terms that

represent their best and only viable alternative.

       35.     Further, the DIP Promissory Note is the product of good-faith, arm’s-length

negotiations and is necessary for the Debtors to pursue a marketing process for some or all of the

Debtors’ assets. Given the timing and circumstances, I do not believe alternative sources of DIP

financing with better, or even as favorable, terms as those of the DIP Promissory Note would be

available. Given the Debtors’ financing history and SVF’s willingness to provide DIP financing

on terms and on the timeline dictated by the Debtors’ liquidity needs, I do not believe soliciting

alternate financing proposals would be a productive or fruitful endeavor. Having the financing

requested under the DIP Motion in place on an exigent basis will allow the Debtors and Houlihan

Lokey to focus solely on the process of maximizing recoveries through asset monetization and

claims mitigation on a vigilant and efficient basis so as to avoid unnecessary process liquidity burn

during these chapter 11 cases. Accordingly, approval of the DIP Promissory Note is in the best

interests of the Debtors’ estates and represents a sound exercise of the Debtors’ reasoned business

judgment.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the facts set forth in

the foregoing declaration are true and correct to the best of my knowledge, information, and belief.


 Dated: June 7, 2021                            /s/Matthew R. Niemann
                                                Matthew R. Niemann
                                                Managing Director
                                                Houlihan Lokey Capital, Inc.
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                            Exhibit 1

               Matthew R. Niemann Curriculum Vitae
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Matthew R. Niemann
Managing Director


Mr. Niemann is a Managing Director and senior member of Houlihan Lokey’s Financial Restructuring Investment
Banking Group. Since joining Houlihan Lokey over twenty-two years ago, Mr. Niemann has served on the Firm’s
management committee, among other leadership roles, including running Houlihan Lokey’s Global Real Estate
and Real Estate Restructuring Investment Banking Groups, and West Coast and Midwest Financial Restructuring
Groups.


From 2012-2019, Mr. Niemann was a member of the Board of Directors of William Lyon Homes (NYSE: WLH),
one of the largest homebuilders in the Western United States, where he sat on the Compensation (Chair),
Governance, and Audit Committees and chaired the Pricing Committee for WLH’s IPO in May 2013. Over his
thirty-two year career, Mr. Niemann has served as a principal or advisor in a wide range of M&A, restructuring,
and financing transactions for Fortune 500 and middle-market companies. He also regularly testifies as an expert
in federal court on valuation, capital market, fiduciary duty, and transaction process issues. Prior to joining
Houlihan Lokey, Mr. Niemann ran PricewaterhouseCoopers’ Financial Advisory Services Group and practiced
law in Bryan Cave’s Corporate, Banking & Real Estate practice in St. Louis. He also spent three years with
Cerberus Capital where he was a Managing Director and investment professional and served as Senior
Managing Director and Chief Strategic Officer of GMAC ResCap (a Cerberus portfolio company) in charge of
strategy for its $5.0 billion portfolio of builder and developer real estate investments.


Mr. Niemann holds Finance and Law degrees from St. Louis University, where he served on the Law Review. He
was a guest lecturer from 2006-2011 at the Kellogg Graduate School of Management at Northwestern University
in Chicago, was a member of the Ph.D. Dissertation Committee at Webster University in St. Louis, and has been
recognized by the K&A Registry as one of the leading restructuring investment bankers in the United States. Mr.
Niemann founded the American Bankruptcy Institute Corporate Bankruptcy Restructuring Competition and
authored the inaugural case study Delicious Delights in 2003. He was the chairman of the Turnaround
Management Association (“TMA”) Distressed Investing Conference in 2008 and regularly participates in industry
conferences. He holds a Series 7 and 63 issued by the National Securities Association Dealers and has been
accredited as a Certified Turnaround Professional by the TMA. Mr. Niemann has served on the executive
committee of the board (Treasurer) of The Ronald McDonald Houses of Greater St. Louis, Our Holy Redeemer
Parish Council (Treasurer) and School Board and the Webster Groves Economic Advisory Council.
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                               Exhibit 2

              Pre- and Post-2020 Capitalization Structure
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(1) SVF invested $200mm, which included $25mm of SVF Secured Bridge that was converted into Series A
    Preferred Shares
(2) Pre-Recapitalization Transaction Fully Diluted Equity Ownership shown prior to the conversion of the
    SVF Convertible Notes
(3) Wolff and Affiliates owned an unknown percentage of the fully diluted equity pre-transaction
(4) Following the close of the SVF Recapitalization Transaction, the Greensill shares were sold to SVF
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                            Exhibit 3

                    Summary of DIP Financing
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  Bankruptcy Rule       Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)

Parties to the        Borrower: Katerra Inc., a Delaware corporation (the “Company”).
DIP Promissory Note
                      DIP Guarantors: Katerra Inc., a Cayman company (the “Parent”) and each Subsidiary
Bankruptcy Rule
                      of the Parent from time to time party to the Security Agreement (as defined in the DIP
4001(c)(1)(B)
                      Promissory Note) (each, a “DIP Guarantor,” and, together with the Company, the “DIP
                      Note Parties”).
                      DIP Lender: SB Investment Advisers (UK) Limited, a UK private limited company (in
                      its capacity under the DIP Promissory Note, including its registered assigns, the
                      “Holder”).
                      See DIP Promissory Note, Preamble, ¶ 1, “Guarantors”

Term                  The maturity date with respect to the DIP Promissory Note (the “Maturity Date”) shall
Bankruptcy Rule       be the earlier of:
4001(b)(l)(B)(iii),
                               (a) the consummation of a sale of all or substantially all of the assets of the DIP
4001(c)(1)(B)
                                   Note Parties;
                               (b) acceleration of the Balance of the DIP Promissory Note pursuant to the DIP
                                   Promissory Note;
                               (c) 35 days after entry of the Interim DIP Order (or such later date as the Holder
                                   in its sole discretion may agree in writing with the Company) if the Final
                                   DIP Order has not been entered on or prior to the expiration of such 35-day
                                   period;
                               (d) the substantial consummation (as defined in Section 1101 of the Bankruptcy
                                   Code and which for purposes hereof shall be no later than the “effective
                                   date” thereof) of a Chapter 11 Plan (as defined in the DIP Promissory Note)
                                   that is confirmed pursuant to a Final DIP Order entered by the Court; and
                               (e) the Scheduled Maturity Date (to be seventy-five (75) days post-closing).
                      See DIP Promissory Note, ¶ 1, “Maturity Date” and “Scheduled Maturity Date”

Commitment            The DIP Promissory Note commitments total $35 million (and, all amounts extended
Bankruptcy Rule       under the DIP Promissory Note, the “DIP Loans”), up to $25 million of which are
4001(c)(1)(B)         available on an interim basis (the “Initial Funding Amount”).
                      See DIP Promissory Note, Preamble, ¶ 2.1(a); Interim DIP Order ¶ (i)–(iii).

Conditions of         The DIP Orders and DIP Documents include conditions to closing that are customary
Borrowing             and appropriate for similar debtor-in-possession financings of this type.
Bankruptcy Rule
4001(c)(1)(B)         See DIP Promissory Note, ¶ 9.

Interest Rates        The DIP Loans will bear interest at a rate equal to the lower of (a) the Highest Lawful
Bankruptcy Rule       Rate; and (b) 10% per annum; provided, that, in the event the entire Balance of the DIP
4001(c)(1)(B)         Promissory Note except for any capitalized interest as of the date thereof is indefeasibly
                      paid in full in cash on or prior to the date that is 60 days following the Petition Date, no
                      such capitalized interest shall be payable in connection with such repayment.
                      See DIP Promissory Note, ¶ 1, “Applicable Rate” and “Highest Lawful Rate.”

Use of DIP            The Company shall use the proceeds of the Loans to finance, in each case consistent in
Promissory Note       all material respects with the Approved Budget (as defined below), subject to Permitted
                      Variances: (i) working capital, letters of credit, surety and performance bonds, and
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  Bankruptcy Rule        Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
Bankruptcy Rule        general corporate purposes of the DIP Note Parties, including capital expenditures and
4001(c)(l)(B)(ii)      Permitted Investments, (ii) the negotiation, documentation, pursuit and/or consummation
                       of an Acceptable Sale, (iii) costs, fees, expenses and charges, in each case, related to,
                       arising out of or in connection with the chapter 11 cases, subject to the Carve-Out, and
                       (iv) certain other prepetition and pre-filing expenses that are approved by the Court and
                       permitted by the Approved Budget.
                       See DIP Promissory Note, Ex. A ¶ 9.

Fees                   Upon the Maturity Date, the Company shall pay all reasonable out-of-pocket expenses
Bankruptcy Rule        incurred by Holder, including the fees, charges and disbursements of one primary counsel
4001(c)(1)(B)          to the Holder (including Weil, Gotshal & Manges LLP), one local counsel to the Holder
                       in each relevant jurisdiction and any other third party advisor consented to by the
                       Company (such consent not to be unreasonably denied, withheld or delayed), in
                       connection with the chapter 11 cases, the DIP Promissory Note (and any amendments,
                       modifications or waivers thereof), the enforcement of rights in connection with the DIP
                       Promissory Note and the administration of the DIP Promissory Note.
                       No other fees and expenses are due and payable under the terms of the DIP Promissory
                       Note.
                       See DIP Promissory Note, ¶ 8.2.

Budget                 The proceeds from the DIP Promissory Note is subject to the Approved Budget (as
Bankruptcy Rule 4001   defined herein), and the initial Approved Budget is attached as Schedule 2 to the Interim
(c)(1)(B)              DIP Order.
                       See DIP Promissory Note, Ex. D; Interim DIP Order, Schedule 2.

Case Milestones        The DIP Note Parties shall pursue and achieve the following milestones, in form and
Bankruptcy Rule        substance acceptable to the DIP Lender:
4001(c)(1)(B)
                                 (a)       on or before the date that is two (2) Business Days after the Petition
                       Date, the Court shall have entered the Interim DIP Order;
                                 (b)       on or before the date that is five (5) days after the Petition Date, the DIP
                       Note Parties shall file with the Court a sale motion and bid procedures motion in form
                       and substance reasonably acceptable to the Holder;
                                 (c)       on or before the date that is thirty five (35) days after the Petition Date,
                       the Court shall have entered the Final DIP Order;
                                 (d)       on or before the date that is forty-five (45) days after the Petition Date
                       (i) the Court shall have entered an order establishing bid procedures in form and substance
                       reasonably acceptable to the Holder (the “Bid Procedures Order”) which shall, among
                       other things, provide that the deadline for bidding be a date not later than fifty-five (55)
                       days from the Petition Date and the Bid Procedures Order shall approve entry into one or
                       more agreements that provide for one or more Acceptable Sale(s), or (ii) the Company
                       shall have obtained a binding commitment for a Replacement DIP and filed a motion with
                       the Court seeking entry of an order approving such Replacement DIP and the indefeasible
                       repayment in full in cash of the Balance;
                                 (e)       on or before the date that is sixty (60) days after the Petition Date, either
                       (i) one or more sale orders in form and substance acceptable to the Holder with respect to
                       one or more Acceptable Sales shall have been entered by the Court, or (ii) the Court shall
                       have entered one or more orders approving the Debtors’ entry into a Replacement DIP
                       and the indefeasible repayment in full in cash of the Balance (the “DIP Refinancing
                       Order”);
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  Bankruptcy Rule        Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                                 (f)       if the DIP Refinancing Order is entered, on or before the date that is
                       three (3) days after entry of the DIP Refinancing Order, the Balance shall be repaid in full
                       in cash with the net cash proceeds of the Replacement DIP;
                                 (g)      on or before the date that is sixty (60) days after the Petition Date, the
                       DIP Note Parties shall file with the Court an Acceptable Plan and a disclosure statement
                       with respect to such Acceptable Plan (the “Disclosure Statement”); provided, that the DIP
                       Note Parties’ compliance with this milestone shall not be affected by technical and
                       immaterial changes and other changes, modifications and supplements to such Acceptable
                       Plan and Disclosure Statement that are reasonably acceptable to the Holder filed with the
                       Court subsequent to the original filing of such Acceptable Plan and Disclosure Statement;
                                 (h)      on or before the date that is seventy (70) days after the Petition Date,
                       one or more Acceptable Sales shall be consummated;
                                 (i)      on or before the date that is ninety (90) days after the Petition Date, the
                       Court shall have entered an order approving the Disclosure Statement;
                                 (j)      on or before the date that is one hundred twenty (120) days after the
                       Petition Date, the Court shall have entered the Confirmation Order; and
                                 (k)      on or before the date that is one hundred thirty five (135) days after the
                       Petition Date, the Acceptable Plan shall be effective.

                       See DIP Promissory Note, Ex. D; Interim DIP Order ¶ 23.


Liens and Priorities   DIP Liens. Subject and subordinate solely to any Prior Perfected Liens and the Carve-
Bankruptcy Rule        Out as set forth in the Interim DIP Order, and effective immediately upon entry of this
4001(c)(l)(B)(i)       Interim DIP Order, pursuant to sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of the
                       Bankruptcy Code, the DIP Lender is granted, in order to secure the DIP Obligations,
                       continuing, valid, binding, enforceable, non-avoidable, and automatically and properly
                       perfected postpetition security interests in and liens on (collectively, the “DIP Liens”) all
                       real and personal property, whether now existing or hereafter arising and wherever
                       located, tangible, or intangible, of each of the Debtors (the “DIP Collateral”).
                       Superpriority Claims. Subject to the Carve-Out, upon entry of the Interim DIP Order, the
                       DIP Lender is granted, pursuant to section 364(c)(1) of the Bankruptcy Code, allowed
                       superpriority administrative expense claims in each of the chapter 11 cases and any
                       Successor Cases (collectively, the “DIP Superpriority Claims”) for all DIP Obligations
                       (a) with priority over any and all administrative expense claims and unsecured claims
                       against the Debtors or their estates in any of the chapter 11 cases or any Successor Cases,
                       at any time existing or arising, of any kind or nature whatsoever, including, without
                       limitation, administrative expenses of the kinds specified in or ordered pursuant to
                       sections 105, 326, 328, 330, 331, 364, 503(a), 503(b), 507(a), 507(b), 546(c), 546(d), 726,
                       1113, or 1114 of the Bankruptcy Code or any other provision of the Bankruptcy Code,
                       and (b) which shall at all times be senior to the rights of the Debtors and their estates, and
                       any successor trustee or other estate representative to the extent permitted by law. The
                       DIP Superpriority Claims shall be payable from, and have recourse to, all prepetition and
                       postpetition property of the Debtors and all proceeds thereof.
                       See Interim DIP Order, ¶ 6–8.

Carve-Out              The DIP Orders provide a “Carve-Out” of certain statutory fees and allowed professional
Bankruptcy Rule        fees of the Debtors pursuant to section 1103 of the Bankruptcy Code.
4001(c)(1)(B)
                       See Interim DIP Order, ¶ 30.
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  Bankruptcy Rule       Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)

Challenge Period      The Interim DIP Order provides for a standard and customary challenge period no later
Bankruptcy Rule       than the date that is sixty (60) days from the formation of the Committee (the “Challenge
4001(c)(l)(B)         Deadline”), as such deadline may be extended in writing from time to time in the sole
                      discretion of the DIP Lender or by this Court for good cause shown pursuant to an
                      application filed by a party in interest prior to the expiration of the Challenge Deadline.
                      See Interim DIP Order, ¶ 32(a).

Events of Default     The DIP Promissory Note contains events of default that are usual and customary for
Bankruptcy Rule       debtor-in-possession financings, including without limitation, the failure to timely
4001(c)(l)(B)         comply with any of the Case Milestones.
                      See DIP Promissory Note, Section ¶ 6; Interim DIP Order ¶ 22.

Waiver/Modification   Pursuant to the Interim DIP Order, the automatic stay provisions of section 362 of the
of the Automatic      Bankruptcy Code are modified to the extent necessary to implement and effectuate the
Stay                  terms of the Interim DIP Order.
Bankruptcy Rule
4001(c)(1)(B)(iv)     See Interim DIP Order, ¶ 13.

Indemnification       The DIP Promissory Note contains indemnification provisions ordinary and customary
Bankruptcy Rule       for financings of this type, including that the Holder (and its officers, directors,
4001(c)(1)(B)(ix)     employees, advisors and agents) (each such person, an “Indemnitee”) will have no
                      liability for, and will be indemnified and held harmless against, any actual losses, claims,
                      damages, liabilities or expenses (in the case of (i) legal fees and expenses, limited to
                      reasonable and documented fees and out-of-pocket expenses of one primary counsel for
                      all such Indemnitees taken as a whole, which, in each case, shall exclude allocated costs
                      of in-house counsel and (ii) any other advisor or consultant, solely to the extent the
                      Company has consented to the retention of such person) incurred or arising out of, in
                      connection with, or as a result of, the DIP Promissory Note, any other Financing
                      Document, any Loan, the use of the proceeds thereof or the financing contemplated by
                      the DIP Promissory Note and the other Financing Documents, except to the extent they
                      are found by a final, non-appealable judgment of a court of competent jurisdiction to arise
                      from the gross negligence, bad faith, material breach by the Holder of its funding
                      obligations under the DIP Promissory Note or willful misconduct of the relevant
                      Indemnitee.
                      See DIP Promissory Note, ¶ 8.3.
